                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION

    VICTORIA CAREY, MARIE BURRIS,
    MICHAEL KISER, BRENT NIX, and
    ROGER MORTON, individually and on
    behalf of all others similarly situated,        Civil Action No. 7:17-cv-00189-D
                                                    Civil Action No. 7:17-cv-00197-D
                                 Plaintiffs,        Civil Action No. 7:17-cv-00201-D
    v.

    THE CHEMOURS COMPANY FC, LLC,
    THE CHEMOURS COMPANY, E.I.
    DUPONT de NEMOURS AND COMPANY,
    INC., E.I. DUPONT CHEMICAL
    CORPORATION, ELLIS H. MCGAUGHY,
    and MICHAEL E. JOHNSON,

                                 Defendants.


                DEFENDANTS’ MOTION TO EXCLUDE TESTIMONY OF
               KIMBERLY A. GRAY, PH.D. AND ROGER W. GRIFFITH, P.E.

          Defendants respectfully move the Court to exclude the expert opinions of Kimberly A.

Gray, Ph.D. and Roger W. Griffith, P.E. under Federal Rule of Evidence 702 and Daubert v.

Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).1 Dr. Gray’s and Mr. Griffith’s

opinions should be excluded because their opinions are not reliable. Plaintiffs rely on the

opinions of Dr. Gray and Mr. Griffith to support their claim that all putative class members must

receive reverse-osmosis water filters and replacement of their hot-water heaters to protect them

from the dangers of PFAS exposure.

          Dr. Gray is a toxicologist who opined bacteria and biofilm in the water sources contain




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       Through this motion, Defendants are challenging only opinions relevant to Plaintiffs’
Motion for Class Certification. Defendants reserve the right to later challenge any other
opinions.


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proteins that bind PFAS to pipes and water heaters in areas that receive water from private wells

in the affected counties or from the Cape Fear River. Dr. Gray’s opinions are purely speculative,

theoretical, and directly inconsistent with the assumptions made in her hypothesis. The stark

discrepancy between Dr. Gray’s assumptions and the facts at issue in this case renders her

opinions unreliable.

       Mr. Griffith is a forensic mechanical engineer who opines that incoming water

contaminated with “Fayetteville Works PFAS” contaminates the sediment layer in water heaters

in a similar concentration as in the incoming water,” that “no methodology currently exists that

will completely remove all sediment from a residential water heater,” and that “the replacement

of contaminated water heaters is the only approach that can fully eliminate the risk of

Fayetteville Works PFAS contamination from water heaters.” However, his opinion that

incoming water contaminated with “Fayetteville Works PFAS” contaminates the sediment layer

in water heaters is not based on any actual data measuring PFAS contained in alleged sediments

inside water heaters—only limited data measuring PFAS out of the tap in a liquid media that Mr.

Griffith assumes must come from sediment within the water heaters. In addition, his opinion that

“no methodology currently exists that will completely remove all sediment from a residential

water heater” ignores key data to the contrary, relies on non-PFAS data, and omits key analysis

that could have confirmed or disproven his theory. Finally, his opinion that “the replacement of

contaminated water heaters is the only approach that can fully eliminate the risk of Fayetteville

Works PFAS contamination from water heaters” is based on the unsupported assumption that

any level of PFAS presents a risk to human health and based on an analytical framework that

attempts to improperly reverse the burden of proof in this case.

       For the foregoing reasons and those set out more particularly in Defendants’



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accompanying memorandum, Defendants respectfully request that this Court exclude the

opinions of Kimberly A. Gray, Ph.D. and Roger W. Griffith, P.E. and grant any further relief

deemed proper and just.




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Dated: July 13, 2022

                                    Respectfully submitted,

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